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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                              WACO DIVISION

NATIONAL BANK d/b/a NATIONAL BANK
OF TEXAS,
     Plaintiff,                                          Case No. 6:15-cv-00249-WSS
v.
                                                         JURY TRIAL DEMANDED
PLANO ENCRYPTION TECHNOLOGIES,
LLC,
     Defendant.


                  JOINT MOTION TO DISMISS WITH PREJUDICE

       Pursuant to Federal Rule of Civil Procedure 41(a) and a confidential settlement

agreement between Plaintiff National Bank (“Plaintiff” or “NB”) and Defendant Plano

Encryption Technologies, LLC (“PET”), NB and PET hereby jointly move the Court to

dismiss with prejudice all NB’s claims in this case. NB and PET agree that each party

shall bear its own attorney’s fees and costs.




Dated: November 13, 2015                        Respectfully submitted,

                                                      /s/ Papool S. Chaudhari
                                                By: __________________________
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                                                  ATTORNEYS FOR PLAINTIFF
                                                  NATIONAL BANK


                           CERTIFICATE OF SERVICE

The undersigned certifies that the foregoing document was filed electronically in

compliance with Local Rule CV-5(b). As such, the foregoing was served on all counsel

of record who have consented to electronic service. Local Rule CV-5. Pursuant to Fed.

R. Civ. P. 5(d) and Local Rule CV-5, all others not deemed to have consented to

electronic service will be served with a true and correct copy of the foregoing via US

Mail via 13th day of November, 2015.

                                                  /s/ Papool S. Chaudhari

                                                 _________________
                                                 Papool S. Chaudhari




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